Case 1:19-cr-00105-SOM Document 8 Filed 11/15/19 Page 1of1

PagelD.16

CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev 07/17)

 

 

2 PERSON REPRESENTED

1 CIR/DIST / DIV CODE
HIXHO Liane Wilson (01)

 

VOUCHER NUMBER

 

 

3 MAG DKT/DEF NUMBER 4 DIST DKT DEF NUMBER

Cr. No. 19-00105 SOM-1

5 APPEALS DKT (DEF NUMBER 6 OTHER DKT NUMBER

 

7 IN CASE/MATTER OF (Case Name) 8 PAYMENT CATEGORY

 

9 TYPE PERSON REPRESENTED 10 REPRESENTATION TYPE

 

Felony O Petty Offense M Adult Defendant O Appellant (See Instructions)
USA .v Liane Wilson et al. |9 Misdemeanor = Other O Juvenile Defendant O Appellee | CC
. ~_| 0 Appeal O_ Other

 

18:152(1) - Concealment of Bankruptcy Assets (1)

11 OFFENSE(S) CHARGED (Cite US Code, Title & Section) Jf more than one offense, list (up to frve) major offenses charged, according to severity of offense.

 

12 ATTORNEY’S NAME (First Name, M_I., Last Name, including any suffix),
AND MAILING ADDRESS

Richard D. Gronna, Esq. #5391

841 Bishop Street, Suite 2201

Honolulu, Hawaii 96813

(808) 523-2441

Telephone Number :

 

 

14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instructions)

 

13 COURT ORDER

 

@ O Appointing Counsel ** OC Co-Counsel
OF Subs For Federal Defender O R Subs For Retained Attomey
O P Subs For Panel Attomey OY Standby Counsel
Prior Attomey’s
Appointment Dates:

OO Because the above-named person represented has testified under oath or has otherwise
satisfied this Court that he or she (1) is financially unable to employ counsel and (2) does
not wish to waive counsel, and because the interests of justice so require, the attomey whose
name appears in Item 12 is appointed to represent this person in this case, OR

(CO Other (See Jpstructiops) (4*Provisionally Appointed)

  
  

 

Signature of Presiding Judge or By Order of the Court

11/15/2019 11/14/2019

Date of Order Nunc Pro Tunc Date
Repayment or partial repayment ordered from the person represented for this service at time

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

appointment O YES Qj NO
CLAIM FOR SERVICES AND EXPENSES FOR COURT USE ONLY
CATEGORIES (Attach itemization of services with dates) choamep AMOUNT MDIUSTED DIUSTED. ae iEw
CLAIMED HOURS AMOUNT
15 |a_ Arraignment and/or Plea 000 0.00
b_Bail and Detention Hearings 000 0.00
c Motion Hearings 000 0.00
¢ d Trial 000 0.00
3 [e_ Sentencing Hearings 000 0.00
¥ | £_Revocation Hearings 000 0.00
™ 1 g_ Appeals Court 000 0.00
h_ Other (Specify on additional sheets) 000 000
(RATE PER HOUR=$ ) TOTALS: 000 000 0.00 0.00
16 |a_ Interviews and Conferences 000 0.00
+ Lb_Obtaining and reviewing records 000 0.00
& c_ Legal research and brief writing 000 0.00
 |d_Travel time 000 0.00
|e Investigative and other work (Specify on additional sheets) 000 0.00
© (RATE PER HOUR = $ dee OTALS: 0.00 000 0.00 0.00
17__| Travel Expenses (lodging, parking, meals, mileage, etc.)
18 | Other Expenses (other than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED): ooo| 0.00
19 CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE 20 APPOINTMENT TERMINATION DATE 21 CASE DISPOSITION
FROM: To: IF OTHER THAN CASE COMPLETION

 

 

22 CLAIM STATUS O Final Payment O Interim Payment Number

Tfepresentation? O YES O NO If yes, give details on additional sheets
I swear or affirm the truth or correctness of the above statements.

Signature of Attorney

Have you previously applied to the court for compensation and/or reimbursement for this case?
Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this

O Supplemental Payment

O YES O NO If yes, were youpaid? O YES ONO

Date

 

 

 

APPROVED FOR PAYMENT — COURT USE ONLY

 

23 IN COURT COMP 24 OUT OF COURT COMP

25 TRAVEL EXPENSES

26 OTHER EXPENSES $000 AMT APPR /CERT

 

28 SIGNATURE OF THE PRESIDING JUDGE

DATE 28a JUDGE CODE

 

29 IN COURT COMP 30 OUT OF COURT COMP

 

 

31 TRAVEL EXPENSES

32 OTHER EXPENSES % TOTAL AMT APPROVED
0.00

 

in excess of the statutory threshold amount.

 

34 SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved

DATE 34a JUDGE CODE

 

 

 

 
